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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


THE MAYA GROUP, INC.,

        Plaintiff,                                        Case No.: 1:19-cv-04690

v.                                                        Judge Robert M. Dow, Jr.

THE PARTNERSHIPS AND UNINCORPORATED                       Magistrate Judge Mary M. Rowland
ASSOCIATIONS IDENTIFIED ON SCHEDULE
“A”,

        Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                    DEFENDANT
                 192                                   huanshop2015


DATED: October 17, 2019                      Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
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                                                     111 West Jackson Boulevard, Suite 1700
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                                                     ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-04690 Document #: 36 Filed: 10/17/19 Page 2 of 2 PageID #:1959




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on October 17, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
